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              UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF NEW YORK


   Scott Kimble, individually and
   on behalf of others similarly situ-
   ated,

                Plaintiff,                   DECISION and ORDER

         v.                                      23-cv-6399-FPG-MJP

   Opteon Appraisal, Inc.,

                Defendant.


                             APPEARANCES

   For Plaintiff:                            Bruce E. Menken, Esq.
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                             INTRODUCTION

        Pedersen, M.J. This case returns to the Court in an unusual

  procedural posture. Plaintiff Scott Kimble moves to transfer venue to




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  the Northern District of Illinois, where Defendant Opteon’s principal

  place of business is located. Opteon opposes.

         Despite being offered the chance to litigate in its backyard, De-

  fendant Opteon Appraisal asks that this case stay in the Western Dis-

  trict of New York. Yet Opteon cannot dispute that its principal place of

  business is where Plaintiff Scott Kimble would like this case to be—the

  Northern District of Illinois. (Answer ¶ 5, ECF No. 6, Sept. 29, 2023 (ad-

  mitting that Opteon has “its principal place of business in Rosemont,

  Illinois).) Nor can Opteon dispute that it is rolling out a new employment

  agreement requiring employees to “consent to the exclusive jurisdiction

  of the state and federal courts located in Cook County, Illinois[.]” 1 (Kim-

  ble Decl. in Supp. of Mot. for Corrective Relief and Equitable Tolling Ex.

  B at 2, 2 (the “Employment Agreement”), ECF No. 21-2, Dec. 13, 2023.)




         1 Kimble “does not concede the employment agreement and related doc-

  uments are enforceable[,]” only that Opteon’s “own documents” state that
  Opteon “selected Illinois as its preferred forum.” (Mem. of Law in Supp. of Mot.
  to Transfer at 2 n.1, ECF No. 31-1, Feb. 7, 2024.)

         2 The Bluebook calls for using the page numbers assigned by the author

  of a document used as an exhibit in litigation: “Documents filed on PACER are
  imprinted with an ECF header. If these page numbers are different from the
  page numbers of the filed document, use the page numbers of the original doc-
  ument.” The Bluebook: A Uniform System of Citation, B.17.1.4, at 26 (21st ed.
  2020). For clarity, the Court notes that this quotation is from page 7 of ECF
  No. 21-2. The full provision reads:

         You irrevocably consent to the exclusive jurisdiction of the state
         and federal courts located in Cook County, Illinois, for the



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          Even so, Opteon opposes Kimble’s motion to transfer venue.

  Opteon’s reason for doing so is apparent: Because this Court found that

  it lacks personal jurisdiction over any out-of-state plaintiffs seeking to

  join a collective action in this district, keeping this case in the Western

  District of New York will prevent Kimble from forming a fully-fledged

  FLSA collective action. This strongly indicates that “the interest of jus-

  tice,” to which the transfer statute speaks, favors Kimble. 28 U.S.C.

  § 1404(a). Because Kimble prevails on the other factors for transferring

  venue—owing in large part to Opteon’s concessions about its principal

  place of business and preferred forum—and because Kimble clears other

  procedural hurdles, the Court GRANTS Kimble’s motion, directing that

  this case be transferred to the Northern District of Illinois after a brief

  stay.

                                BACKGROUND

          Plaintiff Scott Kimble sued Opteon in mid-July 2023 alleging a

  violation of the Fair Labor Standards Act (FLSA), codified in relevant

  part at 29 U.S.C. § 216(b), as well as, for New York employees, liqui-

  dated damages under the New York Labor Law. (Compl., ECF No. 1,

  July 14, 2023.) The Court’s earlier decision and order, (ECF No. 26, Jan.




          purposes of any action or proceeding relating to or arising out of
          this Employment Plan and/or your employment with the Com-
          pany.

  (Employment Agreement at 2–3 ¶ 13, ECF No. 21-2.)


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  19, 2024), provides the backdrop of this case and an overview of the com-

  plaint. 3 The Court thus turns to what has happened since then.

         After the Court ruled on Kimble’s ability to maintain a collective

  action that would include out-of-state FLSA plaintiffs, the Court gave

  Kimble the opportunity to move to change venue. (ECF No. 26, Feb. 2,

  2024.) The Court stated: “Kimble has the option to try to move this case

  to an appropriate forum under 28 U.S.C. § 1404(a),” the venue transfer

  statute. (Id. at 20.) The Court carefully noted that it did not “make” any

  “comment on the merits of such a motion.” (Id.)

         So, Kimble moved to change venue to the Northern District of Il-

  linois. (ECF No. 28, Feb. 2, 2024.) After all, Opteon readily admitted

  that its principal place of business is in that district. (Answer ¶ 5, ECF

  No. 6.)

         But Kimble had jumped the gun. The Court’s order directed the

  parties to meet and confer and “propose a briefing schedule for any mo-

  tions they believe are appropriate” within 14 days of the decision and

  order. (D&O at 28, ECF No. 26.) Kimble did not propose a briefing sched-

  ule.




         3 In that Decision and Order, the question addressed was whether “out-

  of-state plaintiffs who did not work for Opteon in New York and did not reside
  in New York during the relevant time [could] join Kimble’s FLSA collective
  action.” Kimble v. Opteon Appraisal, Inc., ___ F. Supp. 3d ____, No. 23-CV-
  6399-FPG-MJP, 2024 WL 208000, at *1 (W.D.N.Y. Jan. 19, 2024). This Court
  held they could not because the out-of-state plaintiffs lacked a sufficient con-
  nection to this forum.


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         The Court accordingly denied the motion to change venue with

  leave to renew. (Text Order, ECF No. 30, Feb. 5, 2024.) Kimble moved

  again to change venue shortly after that, again to the Northern District

  of Illinois. (ECF No. 31, Feb. 7, 2024.) Kimble submitted a declaration

  in support of the motion. (“Kimble Decl.,” ECF No. 31-2.) Likewise, Kim-

  ble’s attorney filed a declaration. (“Menken Decl.,” ECF No. 31-3.)

         Opteon opposed, simultaneously cross-moving to strike the lone

  consent 4 to become a party plaintiff filed in this case. (ECF No. 32, Feb.

  28, 2024.) The combined opposition and cross-motion include an attor-

  ney declaration. (“Anthony Decl.,” ECF No. 32-2.) It also includes

  Opteon’s General Counsel’s declaration. (“Clark Decl.,” ECF No. 32-3.)

         The parties fully briefed the pending motions by mid-March with

  further replies from Kimble and Opteon. (Kimble Reply, ECF No. 33,

  Mar. 13, 2024; Opteon Reply, ECF No. 34, Mar. 20, 2024.)

              MAGISTRATE JUDGE JURISDICTION

         District Courts in this Circuit are divided on whether a motion to

  transfer venue is “dispositive.” See D’Amato v. ECHL, Inc., No.

  13CV646S, 2015 WL 2151825, at *1 (W.D.N.Y. May 7, 2015) (collecting

  cases); see also id. at *2 (“This very Court has found in separate cases

  the motion to change venue was dispositive … and not dispositive.”



         4 The consent is located at ECF No. 15 and was filed on Nov. 8, 2023.

  Given the Court’s decision to grant Kimble’s motion, the Court denies Opteon’s
  motion to strike without prejudice.


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  (internal citations omitted)). Relevant here, 28 U.S.C. § 636(b)(1)(A) de-

  lineates some dispositive motions. This list does not include motions to

  transfer venue. But Section 636(b)(1)(A) does not provide an exhaustive

  list. Williams v. Beemiller, Inc., 527 F.3d 259, 265 (2d Cir. 2008).

        Where a party could question the magistrate judge’s jurisdiction,

  the Court should analyze “the practical effect of the challenged action

  on the instant litigation.” See id. (citation omitted). For example, courts

  consider remand orders dispositive because they “determine the funda-

  mental question of whether a case [can] proceed in a federal court.” Id.

  (alteration added). But here, the Court determines nothing fundamen-

  tal. Unlike an order remanding an action to state court, a motion to

  transfer venue does not divest the federal judiciary of jurisdiction; it

  “merely moves the action from one district to another[.]” D’Amato, 2015

  WL 2151825, at *3.

        Because granting or denying a motion to transfer venue does not

  divest the federal judiciary of jurisdiction, this Court will follow the ma-

  jority view within the Second Circuit, determining that this motion is

  non-dispositive. See Fritz v. Realpage, Inc., No. 20-CV-7055-CJS-MJP,

  2021 WL 3700434, at *1 (W.D.N.Y. Aug. 20, 2021) (collecting cases)

  (“Most recent district court opinions in the Second Circuit conclude that

  motions for a change of venue are non-dispositive and therefore ‘within

  the pretrial reference authority of magistrate judges.’” (quoting Skolnick




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  v. Wainer, No. CV 2013-4694, 2013 WL 5329112, at *1 n.1 (E.D.N.Y.

  Sept. 20, 2013))); accord Mulgrew v. U.S. Dep’t of Transportation, ___ F.

  Supp. 3d ____, ____ n.1, 2024 WL 665948, at *1 n.1 (E.D.N.Y. Feb. 17,

  2024) (collecting cases).

                           LEGAL STANDARD

        “For the convenience of parties and witnesses, in the interest of

  justice, a district court may transfer any civil action to any other district

  or division where it might have been brought.” Winner v. Tryko Partners,

  LLC, 333 F. Supp. 3d 250, 266 (W.D.N.Y. 2018) (quoting 28 U.S.C. §

  1404(a)); N.Y. Marine & Gen. Ins. Co. v. Lafarge N. Am., Inc., 599 F.3d

  102, 112 (2d Cir. 2010) (same). “Congress enacted § 1404(a) to permit

  change of venue between federal courts.” Piper Aircraft Co. v. Reyno, 454

  U.S. 235, 253 (1981). “Section 1404(a) reflects an increased desire to

  have federal civil suits tried in the federal system at the place called for

  in the particular case by considerations of convenience and justice. ... To

  this end, it empowers a district court to transfer any ‘civil action’ to an-

  other district court if the transfer is warranted by the convenience of

  parties and witnesses and promotes the interest of justice.” Van Dusen

  v. Barrack, 376 U.S. 612, 616 (1964).

        Courts have “broad discretion in making determinations of con-

  venience.” D. H. Blair & Co. v. Gottdiener, 462 F.3d 95, 106 (2d Cir.

  2006); see also In re Cuyahoga Equip. Corp., 980 F.2d 110, 117 (2d Cir.

  1992) (“[M]otions for transfer lie within the broad discretion of the


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  district court and are determined upon notions of convenience and fair-

  ness on a case-by-case basis.” (citation omitted)). But “[t]he party re-

  questing the transfer bears the burden of establishing that transfer is

  warranted by clear and convincing evidence.” Kumaran v. Nat’l Futures

  Ass’n, No. 1:20-CV-03668 (GHW) (SDA), 2023 WL 6890839, at *3

  (S.D.N.Y. Oct. 19, 2023) (subsequent history omitted) (citing N.Y. Ma-

  rine & Gen. Ins. Co., 599 F.3d at 113–14).

        Courts engage in a two-step inquiry when analyzing a motion to

  transfer venue. First, the court determines whether the plaintiff could

  have brought the case in the transferee court. See Wald v. Bank of Am.

  Corp., 856 F. Supp. 2d 545, 548–49 (E.D.N.Y. 2012) (noting that the

  moving “party must demonstrate that the transferee court is able to ex-

  ercise jurisdiction over the parties and must be an appropriate venue of

  the action and that the balance of convenience and justice favors trans-

  fer” (cleaned up and quotation omitted)).

        Second, the court determines “whether considering the conven-

  ience of parties and witnesses, and the interest of justice, a transfer is

  appropriate.” Travelers Prop. Cas. Co. of Am. v. Ocean Reef Charters

  LLC, 324 F. Supp. 3d 366, 374 (W.D.N.Y. 2018) (internal quotation

  marks omitted) (quoting Fuji Photo Film Co. v. Lexar Media, Inc., 415

  F. Supp. 2d 370, 373 (S.D.N.Y. 2006)). This reflects the relevant statu-

  tory language of Section 1404(a).




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        To accomplish the second step, courts look to the “convenience

  factors.” See D.H. Blair & Co., 462 F.3d at 106–07 (listing “[s]ome of the

  factors a district court is to consider”). Although certain factors weigh

  more heavily, no one factor is dispositive. See Wald, 856 F. Supp. 2d at

  549 (“There is no strict formula for the application of these factors, and

  no single factor is determinative.” (quoting Delta Air Lines v. Ass’n of

  Flight Attendants, 720 F. Supp. 2d 213, 217 (E.D.N.Y. 2010))).

        As noted, the party moving for transfer “carries the ‘burden of

  making out a strong case for transfer.’” N.Y. Marine & Gen. Ins. Co., 599

  F.3d at 114 (quoting Filmline (Cross-Country) Prods., Inc. v. United Art-

  ists Corp., 865 F.2d 513, 521 (2d Cir. 1989)). The moving party must

  make the case for transfer via several factors, including:

        (1) the plaintiff's choice of forum,

        (2) the convenience of the witnesses,

        (3) the location of relevant documents and relative ease of
        access to sources of proof,

        (4) the convenience of parties,

        (5) the locus of operative facts,

        (6) the availability of process to compel the attendance of
        unwilling witnesses, and

        (7) the relative means of the parties.

  Fritz, 2021 WL 3700434, at *2 (reformatted as a list) (quoting N.Y. Ma-

  rine & Gen. Ins. Co., 599 F.3d at 112); see also Winner, 333 F. Supp. 3d

  at 266 (noting several additional factors including first, “the forum’s



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   familiarity with governing law,” second, “the weight accorded to

   [p]laintiff’s choice of forum,” and “trial efficiency and the interests of jus-

   tice, based on the totality of the circumstances” (quoting Fuji Photo, 415

   F. Supp. 2d at 373)). After considering threshold questions, the Court

   turns to the convenience factors.

                                   ANALYSIS

   I.     Kimble did not ignore a clear jurisdictional bar.

          The Second Circuit has held that courts should not “reward plain-

   tiffs for their lack of diligence in choosing a proper forum” with a later

   transfer of venue. Spar, Inc. v. Info. Res., Inc., 956 F.2d 392, 394 (2d Cir.

   1992). If Kimble ignored a clear jurisdictional bar, this Court should

   deny his motion. See Posven, C.A. v. Liberty Mut. Ins. Co., 303 F. Supp.

   2d 391, 407–08 (S.D.N.Y. 2004) (“If a plaintiff has ignored a clear juris-

   dictional bar in filing suit in a particular forum, dismissal rather than

   transfer is often warranted, especially if the plaintiff is engaging in fo-

   rum shopping or some other form of gamesmanship.” (additional cita-

   tions omitted) (citing Spar, 956 F.2d at 394–95)). But not every jurisdic-

   tional mistake will doom a later motion to transfer. See id. (finding that

   the plaintiff did not ignore a clear jurisdictional bar where their personal

   jurisdictional arguments were not “incredible”).

          Absent such a clear jurisdictional bar, however, the Second Cir-

   cuit expects courts to transfer cases to a district where the plaintiff could

   have brought the case under 28 U.S.C. § 1406(a). See Daniel v. Am. Bd.


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   of Emergency Med., 428 F.3d 408, 435 (2d Cir. 2005) (“Courts enjoy con-

   siderable discretion in deciding whether to transfer a case in the interest

   of justice.” (citing Phillips v. Seiter, 173 F.3d 609, 610 (7th Cir. 1999))).

   The question before the Court is whether Kimble knew, or should have

   known, that personal jurisdiction was lacking.

          Here, both parties conceded that the Second Circuit has not

   weighed in on whether Bristol-Myers Squibb applies to FLSA collective

   actions. So, when the time was right, the Court ruled on that question.

   See generally Kimble, 2024 WL 208000. Kimble thus did not ignore a

   clear jurisdictional bar; he is responding to this Court’s unfavorable rul-

   ing on a disputed question of law. Cf. e.g., Wohlbach v. Ziady, No. 17

   CIV. 5790 (ER), 2018 WL 3611928, at *5 (S.D.N.Y. July 27, 2018)

   (“Wohlbach was well aware that all the relevant events occurred in Del-

   aware, and that Shirley and the University both resided in Dela-

   ware … Despite that, she chose to file the Complaint in this District

   without providing any colorable basis for venue here. Wohlbach’s deci-

   sion to file her case in this District is not a result of ‘an erroneous guess

   with regard to the existence of some elusive fact of the kind upon which

   venue provisions often turn,’ but of her lack of diligence in meeting the

   clear jurisdictional bar of 28 U.S.C. § 1391.” (quoting Spar, 956 F.2d at

   394)). Feldman v. L & M Mowing. Inc., No. 98 CV 4246SJ, 1999 WL

   284983, at *3 (E.D.N.Y. May 3, 1999) (“[D]ismissal may be warranted




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   where the plaintiff knowingly chooses the wrong forum or otherwise ex-

   hibits a lack of diligence.” (citations omitted)). Put another way, while

   the Court found there is a jurisdictional bar, it was hardly an obvious

   one.

          Yet Opteon argues that Kimble should have known about the ju-

   risdictional bar (1) before suing, (2) when Opteon answered, (3) when

   the parties prepared their joint proposed discovery plan under Fed. R.

   Civ. P. 26(f), and (4) during motion practice. But all this shows is that

   Kimble knew that Opteon would oppose Kimble’s efforts at collective ac-

   tion certification. This was not disregard for a clear jurisdictional bar.

   Kimble tested a district in a circuit without controlling authority, losing

   on a question that has divided courts, including courts in this Circuit.

          As such, Kimble’s case is a far cry from those Opteon cites. First,

   this Court sees no evidence that Kimble has engaged in forum shopping.

   Courts will decline to transfer venue if it appears that a plaintiff wants

   to “bargain hunt,” i.e., forum shop, “after commencing an action.” Krisko

   v. Marvel Ent., LLC, 473 F. Supp. 3d 288, 301 (S.D.N.Y. 2020) (quoting

   Spar, 956 F.2d at 394–95). The Second Circuit explained its disapproval

   of such bargain hunting:

          Certainly, “a plaintiff already has the option of shopping
          for a forum with the most favorable law,” … before it
          makes a decision to initiate an action in a particular dis-
          trict. Once a plaintiff has commenced its action, however,
          its opportunity to search for a more conducive forum ordi-
          narily is concluded.



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   Spar, 956 F.2d at 395 (internal citation omitted) (quoting Ferens v. John

   Deere Co., 494 U.S. 516, 527 (1990)). The Court finds, on the record be-

   fore it, that “there is no evidence that” Kimble chose the Northern Dis-

   trict of Illinois “to gain some improper advantage.” Flood v. Carlson Res-

   taurants, Inc., 94 F. Supp. 3d 572, 576–77 (S.D.N.Y. 2015). Only upon

   this Court’s invitation did Kimble move for transfer. And this only after

   the Court ruled on a contested—not obvious—question of law. Finally,

   the Court notes that Kimble is trying to transfer this case to a district

   with general jurisdiction over Opteon, not a district that may reconsider

   this Court’s decision about Bristol-Myers. The reason Kimble moves to

   transfer venue is not to find a more favorable forum for his FLSA collec-

   tive action: It is to bring that collective action in the first place.

          Second, and relatedly, cases like Spar involve obvious jurisdic-

   tional bars. Again, this case involves no jurisdictional bar that Kimble

   should have known about from the outset. Spar, 956 F.2d at 394 (ex-

   plaining that “a statute of limitations is far from an elusive fact un-

   known to a reasonable plaintiff”). In Spar, the Court found dispositive

   the plaintiff’s failure to “pursue its claim diligently and [ ] research New

   York’s statute of limitations.” Id. at 393. Thus, the court declined to

   transfer the case. Id. at 395. Unlike Spar, where research would have

   yielded a black-letter result, Kimble could (and did) point to trial courts

   in this Circuit that disagree with this Court’s ruling. See, e.g., Meo v.




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   Lane Bryant, Inc., No. CV186360JMAAKT, 2019 WL 5157024, at *12

   (E.D.N.Y. Sept. 30, 2019) (“Congress intended for nationwide FLSA col-

   lective actions. Applying Bristol-Myers to FLSA collective actions would

   countermand that purpose.”); Mason v. Lumber Liquidators, Inc., No.

   17CV4780MKBRLM, 2019 WL 3940846, at *7 (E.D.N.Y. Aug. 19, 2019).

   Kimble did not ignore a clear jurisdictional bar.

   II.   Kimble need not show a change in circumstances.

         Some courts in this Circuit require a plaintiff moving to transfer

   venue to show “a new development that ‘warrants transferring the ac-

   tion.’” United States ex rel. Fisher v. Bank of Am., N.A., 204 F. Supp. 3d

   618, 623 (S.D.N.Y. 2016) (quoting Ferrostaal, Inc. v. Union Pac. R. Co.,

   109 F. Supp. 2d 146, 151 (S.D.N.Y. 2000)). “This change must have

   ‘taken place since the filing of [the] suit.’” Id. (alteration in original)

   (quoting Harem-Christensen Corp. v. M. S. Frigo Harmony, 477 F. Supp.

   694, 698 (S.D.N.Y. 1979)). “Circumstances that were known or should

   have been known to plaintiff long before the lawsuit accordingly will not

   support a plaintiff’s motion to transfer.” Id. (internal quotation marks

   and quotation omitted). But this is a creation of Second Circuit trial

   courts; it is not controlling precedent.

         Thus, because the Second Circuit has not weighed in on this ques-

   tion, the Court may (and does) decline to require Kimble to show a de-

   velopment warranting transfer. See Nat’l Experiential, LLC v. Nike,

   Inc., No. 120CV3197ENVSIL, 2021 WL 9678642, at *4 (E.D.N.Y. July


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   31, 2021) (“With the Second Circuit yet to explicitly address the need for

   a change of circumstances requirement, the weight of authority favors

   the view that even though a bona fide change in circumstances may be

   a sure sign that transfer of venue would be in the interests of justice, it

   does not augment or displace that essential inquiry.” (collecting cases)).

   The “essential inquiry” under 28 U.S.C. § 1404(a) already accounts for

   gamesmanship and inequity by requiring the Court to examine “the in-

   terest of justice” and “the convenience of parties and witnesses,” 28

   U.S.C. § 1404(a), rendering the change-of-circumstances analysis as su-

   perfluous as it is divorced from the text of the statute. Accordingly, the

   Court finds that “the interests of justice inquiry adequately subsumes

   consideration of any change in circumstances.” Hobby Lobby Stores Inc.

   v. Obbink, No. 21CV3113RPKMMH, 2023 WL 6214240, at *4 (E.D.N.Y.

   Sept. 23, 2023) (citing Nat’l Experiential, LLC, 2021 WL 9678642, at *4).

   III.   The convenience factors favor transfer.

          Because neither party requested an evidentiary hearing on the

   jurisdictional facts alleged, the Court proceeds to resolve this motion on

   the papers and declarations the parties submitted. See Dorchester Fin.

   Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 86 (2d Cir. 2013) (per curiam)

   (finding that the district court did not err “in failing to hold an eviden-

   tiary hearing, as there [was] no indication that either party requested

   one” (alteration added)). Moreover, since the parties do not seriously




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   dispute whether Kimble could have brought this case in Illinois, 5 the

   Court accordingly turns to the convenience factors. As stated, Kimble

   “carries the ‘burden of making out a strong case for transfer.’” N.Y. Ma-

   rine & Gen. Ins. Co., 599 F.3d at 114 (quoting Filmline (Cross-Country)

   Prods., Inc., 865 F.2d at 521).

          A.     Factors about the parties favor transfer.

          The private interest factors—that is, those about the parties—fa-

   vor transfer. Indeed, based on the private interest factors alone, the

   Court could order transfer.

                    [Remainder of page intentionally blank.]




          5 Here, Kimble could have brought this case in any “judicial district in

   which any defendant resides, if all defendants are residents of the State in
   which the district is located.” 28 U.S.C. § 1391(b)(1). Since Opteon is the only
   defendant, venue is proper where Opteon resides.

           A corporation, like Opteon, “shall be deemed to reside … in any judicial
   district in which such defendant is subject to the court’s personal jurisdiction.”
   28 U.S.C. § 1391(c)(2). Kimble may thus sue Opteon in the Northern District
   of Illinois because Opteon maintains its principal place of business there. (An-
   swer ¶ 5, ECF No. 6.) A corporation is at home, for purposes of general personal
   jurisdiction, where it maintains its principal place of business. Chufen Chen v.
   Dunkin’ Brands, Inc., 954 F.3d 492, 498 (2d Cir. 2020).

           Additionally, theCourt takes judicial notice that Rosemont, Illinois, is
   found within Cook County, Illinois, which is found in the Northern District of
   Illinois. See About the U.S. Attorney’s Office, United States Attorney for the
   Northern District of Illinois, https://www.justice.gov/usao-ndil/about (listing
   counties within the district’s eastern and western divisions). The Court also
   notes that it appears some of the parties’ submissions misspell “Rosemont” as
   “Rosemount.” Based on context, this was an unintentional error.


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                  1.    Opteon’s forum-selection clause is not con-
                        trolling, but it provides strong evidence
                        about the convenience of the Northern Dis-
                        trict of Illinois for Opteon.

            A valid forum-selection clause will usually decide where a case

   ends up. Courts will usually transfer venue to the contractually desig-

   nated forum. The party resisting transfer in the face of “a valid forum-

   selection clause” bears a heavy burden of showing “extraordinary cir-

   cumstances unrelated to the convenience of the parties.” Atl. Marine

   Const. Co. v. U.S. Dist. Ct. for W. Dist. of Texas, 571 U.S. 49, 62 (2013).

   “When parties agree to a forum-selection clause, they waive the right to

   challenge the preselected forum as inconvenient or less convenient for

   themselves or their witnesses, or for their pursuit of the litigation.” Id.

   at 64.

            Here, Opteon now requires its employees to sign an employment

   agreement in which they “consent to the exclusive jurisdiction of the

   state and federal courts located in Cook County, Illinois, for the purposes

   of any action or proceeding relating to or arising out of this Employment

   Plan and/or your employment with the Company.” (Employment Agree-

   ment at 2–3 ¶ 13, ECF No. 21-2.) This agreement does not appear to

   apply to Kimble, and in any event, Kimble argues it is not enforceable.

   (Mem. of Law in Supp. of Mot. to Transfer at 2, ECF No. 31-1; see also

   id. at 6 n.4 (noting that Kimble “did not sign the version of the employ-

   ment agreement containing the venue provision” and does not believe



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   the arbitration clause is enforceable.) Admittedly, this tempers Kimble’s

   argument. The Court cannot apply this Circuit’s law about forum-selec-

   tion clauses as it normally would.

          But the Court agrees with Kimble’s essential point: “The conven-

   ience of an Illinois venue for [Opteon] is apparent from Opteon’s decision

   to include a venue provision in its new employment agreements.” (Id. at

   6 (alteration added).) Opteon’s incentive is apparent. Opteon would not

   put a forum-selection provision in every employment agreement for all

   disputes arising out of that agreement unless Illinois was the best of all

   available forums. A forum-selection clause that overlaps with a com-

   pany’s principal place of business is strong evidence that the Northern

   District of Illinois is a convenient forum for Opteon. See Travelers Prop.

   Cas. Co. of Am., 324 F. Supp. 3d at 376 (“When analyzing the conven-

   ience of the parties, courts often look to the parties’ principal places of

   business and the location of their offices.” (quoting Freeplay Music, LLC

   v. Gibson Brands, Inc., 195 F. Supp. 3d 613, 618 (S.D.N.Y. 2016))). Thus,

   the convenience of the parties factor wholeheartedly favors Kimble since

   he is willing to travel to the Northern District of Illinois. (Kimble Decl.

   ¶ 3, ECF No. 31-2 (“I am prepared to travel to Illinois as needed to liti-

   gate the claims in this case if the case is transferred to Illinois.”).)

          Opteon advances the argument that this venue change does not

   serve Kimble well, meaning that the convenience of the parties factor




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   does not favor him. Opteon adds that Kimble’s proposed change of venue

   is “not for his own benefit … or the purported witnesses’ convenience,

   but [ ] solely for the potential benefit of individuals who are not parties

   to this lawsuit nor represented by [Kimble’s] counsel, and over whom

   this Court does not have personal jurisdiction[.]” (Cross-Mot. Mem. of

   Law at 8–9, ECF No. 32-1 (alterations added and emphasis removed).)

   Elsewhere, Opteon asserts that the potential benefit to which it alludes

   is also for Kimble’s counsel. (Id. at 11.) Despite heavy emphasis, Opteon

   cites little, if any, case law in support of this argument.

         This may be because Opteon’s argument misses the point: Kimble

   wants to bring a collective action. He has from the start. The Court de-

   termines that it will not weigh inconvenience for Kimble as heavily since

   Kimble’s “desire” was, and is, for this “case [to] include appraisers who

   worked for Opteon throughout the country” and he thus seeks “to trans-

   fer th[is] case to Illinois.” (Kimble Decl. ¶ 2, ECF No. 31-2.) After all,

   Kimble’s desire is exactly what the FLSA affords him: The chance to

   bring “one proceeding of common issues of law and fact.” Hoffman-La

   Roche v. Sperling, 493 U.S. 165, 170 (1989). And so, this Court will not

   punish Kimble for a fair—though ultimately incorrect—gamble about

   his ability to bring a collective action in this district. See Iragorri v.

   United Techs. Corp., 274 F.3d 65, 73 (2d Cir. 2001) (noting that “the




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   plaintiff’s convenience” is a “legitimate reason[]” for choosing a particu-

   lar forum).

         Opteon’s argument likewise blinks the plain text of the venue

   transfer statute. Under 28 U.S.C. § 1404(a), the Court can (and will)

   consider non-parties’ interests. The plain language of Section 1404(a)

   tells the Court to consider parties, witnesses, and the interest of justice.

   If Congress meant for the Court to consider only parties, excluding non-

   parties, the text of Section 1404(a) is a poor execution of that intent.

         2.      The convenience of witnesses factor favors
                 transfer.

         “Convenience of the witnesses is perhaps the most important con-

   sideration in determining whether transfer is appropriate.” Travelers

   Prop. Cas. Co. of Am., 324 F. Supp. 3d at 375 (quoting Adirondack

   Transit Lines, Inc. v. Greyhound Lines, Inc., No. 1:15-CV-01227

   (LEK)(CFH), 2016 WL 5415772, at *5 (N.D.N.Y. Sept. 28, 2016)). “[T]he

   weight given to the convenience of witnesses depends upon whether the

   party seeking transfer has described the witnesses’ testimony so the

   court can qualitatively evaluate its materiality.” Excellent Home Care

   Servs., LLC v. FGA, Inc., No. 13 CIV. 05390 ILG, 2014 WL 652357, at

   *3 (E.D.N.Y. Feb. 19, 2014). Accordingly, the moving party “must clearly

   specify the key witnesses to be called and must make a general state-

   ment of what their testimony will cover.” Factors Etc., Inc v. Pro Arts,

   Inc., 579 F.2d 215, 218 (2d Cir. 1978), abrogated on other grounds by



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   Pirone v. MacMillan, Inc., 894 F.2d 579 (2d Cir. 1990). 6 “The conven-

   ience of non-party witnesses generally carries more weight than the con-

   venience of party witnesses.” Herbert Ltd. P’ship v. Elec. Arts Inc., 325

   F. Supp. 2d 282, 286 (S.D.N.Y. 2004).

         Because Opteon employs a primarily remote workforce, this fac-

   tor is more difficult to assess. (Cross-Mot. Mem. of Law at 6, ECF No.

   32-1, Feb. 28, 2024 (“While Opteon’s principal place of business may be

   in Rosemo[]nt Illinois, it has a largely remote workforce.” (citing Compl.

   ¶ 6, ECF No. 1)); id. at 11 (“Plaintiff also acknowledges that Opteon’s

   workforce is primarily remote and that not all Opteon’s operations are

   centralized in Illinois.”); Kimble Decl. ¶ 10, ECF No. 31-2; see also Clark

   Decl. ¶¶ 3–5, ECF No. 32-3.) About the transfer, Opteon argues, “[i]t is

   in no way more convenient for Opteon and its witnesses to litigate this

   matter in Illinois as opposed to New York.” (Cross-Mot. Mem. of Law at

   11, ECF No. 32-1.) Opteon repeats this refrain later, italics and all.

         Setting aside the unnecessary italics, Opteon’s assertion is ques-

   tionable. First, Opteon admits its principal place of business is in the

   Northern District of Illinois. One of Opteon’s corporate officers has

   signed declarations for this case in that district. Second, Opteon’s new

   employment agreement mandates an Illinois forum. (Employment

   Agreement at 2–3 ¶ 13, ECF No. 21-2 (noting that Cook County is



         6 See infra note 8.




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   Opteon’s chosen forum).) Third, Kimble states that he “virtually at-

   tended meetings that were hosted in [Opteon’s] Chicago office very fre-

   quently.” (Kimble Decl. ¶ 5, ECF No. 31-2.) On this record, it is hard to

   believe that Illinois is “in no way” more convenient for Opteon and its

   witnesses.

          Moreover, as Kimble correctly points out, witnesses who do not

   reside in Illinois could be deposed remotely. See Goldowsky v. Exeter Fin.

   Corp., No. 15-CV-632A(F), 2021 WL 695063, at *4 (W.D.N.Y. Feb. 23,

   2021) (“Further, with the availability of video-conferencing technology,

   it is unlikely that Plaintiffs will be required to travel to Dallas for depo-

   sitions.”). Indeed, if Opteon employs a predominantly remote workforce,

   videoconferencing should be familiar to witnesses in this case. Of note,

   the rise of remote videoconferencing may soon undercut the usefulness

   of this factor in the transfer analysis.

          Finally, the locations of potential witnesses do not sway the

   Court. Kimble unambiguously states that he will travel to the Northern

   District of Illinois for this case. (Kimble Decl. ¶¶ 2–3, ECF No. 31-2.)

   And Opteon admits that one employee-witness resides in Illinois. (Clark

   Decl. ¶ 6, ECF No. 32-3 (indicating additionally that Opteon’s General

   Counsel signed this declaration in “Rosemont, Illinois”).) For these rea-

   sons, this factor favors transfer.




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         3.     The locus of operative facts is neutral.

         “The locus of operative facts is a ‘primary factor’ in determining

   whether to transfer venue.” Am. Steamship Owners Mut. Prot. & Indem.

   Ass’n, Inc. v. Lafarge N. Am., Inc., 474 F. Supp. 2d 474, 485 (S.D.N.Y.

   2007) (quotation omitted), aff’d sub nom N.Y. Marine & Gen. Ins. Co.,

   599 F.3d 102; see also Tianhai Lace USC Inc. v. Forever 21, Inc., No. 16-

   CV-5950 (AJN), 2017 WL 4712632, at *4 (S.D.N.Y. Sept. 27, 2017)

   (same) (quoting Steck v. Santander Consumer USA Holdings Inc., No.

   14-CV-6942 (JPO), 2015 WL 3767445, at *6 (S.D.N.Y. June 17, 2015)).

   “To determine where the locus of operative facts lies, courts look to the

   site of events from which the claim arises.” Travelers Prop. Cas. Co. of

   Am., 324 F. Supp. 3d at 379 (internal quotation marks omitted) (quoting

   Age Grp. Ltd. v. Regal Logistics, Corp., No. 06 Civ. 4328 (PKL), 2007 WL

   2274024, at *3 (S.D.N.Y. Aug. 8, 2007)).

         Often, the locus of operative facts is where an employee performs

   his or her work or where that employee signs his or her contract. See,

   e.g., Hicks v. T.L. Cannon Corp., No. 12-CV-6517T, 2013 WL 2423782,

   at *5 (W.D.N.Y. Jun. 4, 2013) (“[T]here is no single locus of operative

   facts in this action. Plaintiffs purport to represent hundreds of tipped

   employees who worked in different restaurant[s] throughout the state.”

   (alterations added)). Here, the Court finds that “there is no single locus

   of operative facts” because “[t]he proof of the claims will focus on events

   in” Illinois and every district in which appraisers are located. Hart v.


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   Crab Addison, Inc., No. 13-CV-6458 CJS, 2014 WL 2865899, at *5

   (W.D.N.Y. June 24, 2014). Thus, this factor is neutral.

          Yet Kimble argues that this should not be true of FLSA actions.

   Certainly, “[i]n a nationwide FLSA action [ ] it is often difficult to fix a

   single locus of operative facts[.]” Flood, 94 F. Supp. 3d at 578 (alterations

   added). But “courts have concluded that operative facts may be found at

   the locations where employees worked, notwithstanding allegations that

   a uniform corporate policy caused the FLSA violations.” Id.; see also

   Pauli v. Ollie’s Bargain Outlet, Inc., No. 5:22-CV-00279 (MAD/ML), 2022

   WL 14760084, at *5 (N.D.N.Y. Oct. 25, 2022) (“In putative class action

   ‘employment disputes,’ ‘the locus of operative facts is the location of the

   alleged violations … not the corporate headquarters.’” (quoting Bukhari

   v. Deloitte & Touche LLP, No. 12 CIV. 4290 PAE, 2012 WL 5904815, at

   *5 (S.D.N.Y. Nov. 26, 2012))). Thus, in this case, “the locus of operative

   facts is split amongst several forums[.]” Travelers Prop. Cas. Co. of Am.,

   324 F. Supp. 3d at 381.

          Although Opteon’s policies allegedly violating the FLSA may

   have emerged from its principal place of business in the Northern Dis-

   trict of Illinois, other facts center on each employee, such as whether or

   how much overtime he or she had to work, and the location from which

   he or she submitted appraisal reports. The Court is unpersuaded; this

   factor is neutral.




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         4.      Kimble’s choice of forum is neutral.

         “A plaintiff’s choice of venue is entitled to significant considera-

   tion and will not be disturbed unless other factors weigh strongly in fa-

   vor of transfer.” Travelers Prop. Cas. Co. of Am., 324 F. Supp. 3d at 384

   (quoting Royal & Sunalliance v. Brit. Airways, 167 F. Supp. 2d 573, 576

   (S.D.N.Y. 2001); see also Iragorri, 274 F.3d at 71. “[T]he plaintiff’s choice

   is generally accorded more deference where there is a material connec-

   tion or significant contact between the forum state and the underlying

   events allegedly underlying the claim, or where the plaintiff is a resident

   of the forum district.” Travelers Prop. Cas. Co. of Am., 324 F. Supp. 3d

   at 384 (quoting Berman v. Informix Corp., 30 F. Supp. 2d 653, 659

   (S.D.N.Y. 1998)). Thus, deference to a plaintiff’s choice of forum “varies

   with the circumstances.” Iragorri, 274 F.3d at 71.

          This case presents one of the circumstances in which courts afford

   a plaintiff’s choice of forum less deference. As discussed above in analyz-

   ing the convenience of the parties factor, Kimble moves to transfer—not

   Opteon. See Ferrostal, Inc., 109 F. Supp. 2d at 151 (“A plaintiff moving

   to transfer venue has already had an opportunity to choose the venue

   when filing the action.”). The Court finds that the customary deference

   afforded to the plaintiff’s choice of forum is not warranted here. 7



          7 If this case presented signs of forum shopping, the Court may have to

   find that this factor favors keeping this case in the Western District of New



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          5.      The factor concerning the location of documents
                  and access to sources of proof slightly favors
                  transfer.

           “In today’s era of photocopying, fax machines and Federal Ex-

   press,” each party’s documents can easily make their way to another

   venue. Coker v. Bank of Am., 984 F. Supp. 757, 766 (S.D.N.Y. 1997);

   DataCatalyst, LLC v. Infoverity, LLC, No. 20 CIV. 310 (AKH), 2020 WL

   1272199, at *4 (S.D.N.Y. Mar. 17, 2020) (“The location of relevant docu-

   ments is not a major consideration in an era of electronic records and

   eDiscovery.” (citing Am. Steamship Owners, 474 F. Supp. 2d at 484)).

          Here, the Court finds that this factor slightly favors transfer. To

   the extent that evidence is available in one place, that place is likely to

   be Opteon’s principal place of business. And Opteon, as the defendant-


   York. See Hershman v. UnumProvident Corp., 658 F. Supp. 2d 598, 601
   (S.D.N.Y. 2009) (“The more [ ] a decision” to change venue “is dictated by rea-
   sons that the law recognizes as valid, the greater the deference that will be
   given to it” but “the more it appears the decision is ‘motivated by forum shop-
   ping reasons,’ the less deference will be accorded to it.” (cleaned up) (citing
   Iragorri, 274 F.3d at 73)). As discussed, however, it does not.

           Moreover, for class actions, courts afford less deference because “mem-
   bers of the class are dispersed throughout the nation.” Wald, 856 F. Supp. 2d
   at 549 (quotation omitted). But “the opt-in structure of FLSA collective actions
   strongly suggests that Congress intended to give plaintiffs considerable control
   over the bringing of a FLSA” collective action. Flood, 94 F. Supp. 3d at 577
   (cleaned up) (quoting Koslofsky v. Santaturs, Inc., No. 10 CIV. 9160 BSJ, 2011
   WL 10894856, at *2 (S.D.N.Y. Aug. 18, 2011)). “[U]nlike class actions under
   Federal Rule of Civil Procedure 23, members of a § 216(b) collective action are
   not bound by the court’s decision unless they ‘opt-in.’” Koslofsky, 2011 WL
   10894856, at *2 (citing Wood v. N.Y. Life Ins. Co., 686 F.2d 578, 580 (7th Cir.
   1982)). “Thus, a plaintiff’s choice of forum in a FLSA collective action is entitled
   to more deference than the choice of forum in Rule 23 national class actions.”
   Id. (cleaned up) (quoting Koslofsky, 2011 WL 10894856, at *2).




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   employer, is “likely to produce the bulk of the relevant evidence in this

   case.” CYI, Inc. v. Ja-Ru, Inc., 913 F. Supp. 2d 16, 24 (S.D.N.Y. 2012).

   The Court thus finds that: “This factor favors transfer, but not strongly.”

   Id. (citation omitted).

          6.     The relative means of the parties factor is neu-
                 tral.

          “In analyzing whether the relative means of the parties favors

   transfer, a court should determine whether a party’s ‘financial situation

   would meaningfully impede its ability to litigate this case in either fo-

   rum.’” Travelers Prop. Cas. Co. of Am., 324 F. Supp. 3d at 383 (quotation

   omitted). This factor is “rarely [ ] a dispositive reason to grant or deny a

   transfer motion.’” Id. (alteration added) (quoting Schoenefeld v. New

   York, No. 08 Civ. 3269 (NRB), 2009 WL 1069159, at *3 (S.D.N.Y. Apr.

   16, 2009)). So too here.

          The relative means of the parties factor does not cover what Kim-

   ble thinks it does. Rather, as stated, it asks whether either party’s “fi-

   nancial situation would ‘meaningfully impede its ability to litigate this

   case in either forum.’” Id. (quoting Ivy Soc’y Sports Grp., LLC v. Balon-

   cesto Superior Nacional, No. 08 CIV. 8106 (PGG), 2009 WL 2252116, at

   *8 (S.D.N.Y. July 28, 2009)). Kimble tells the Court that he ready to

   litigate this case in the Northern District of Illinois.

          Further, although some courts consider “the case of an individual

   suing a large corporation,” Kimble has not provided any “evidence



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   showing that the costs associated with pursuing this action would in-

   crease markedly if transfer were granted.” Flood, 94 F. Supp. 3d at 580

   (quotation omitted); Travelers Prop. Cas. Co. of Am., 324 F. Supp. 3d at

   383 (finding that the relative means factor did not favor transfer where

   the party seeking transfer did “not provide[] any specific information as

   to its own assets” other than a general assertion (citation omitted)). The

   Court finds that this factor is neutral.

         7.     The availability of compulsory process favors
                transfer.

         Under Fed. R. Civ. P. 45(c)(1)(A), a district court generally cannot

   issue a subpoena that would compel a non-party witness to travel more

   than 100 miles or out of state. See Travelers Prop. Cas. Co. of Am., 324

   F. Supp. 3d at 382 (“Under Federal Rule of Civil Procedure 45, a district

   court can enforce a trial subpoena served on a witness within the state

   or within 100 miles of the court.” (quoting In re Anadarko Petroleum

   Corp., No. 10 CIV. 05894 (PGG), 2012 WL 12894796, at *8 (S.D.N.Y.

   Mar. 19, 2012))). But the witnesses known to the Court in this case are

   employees and thus are “under” Opteon’s “control,” making them “avail-

   able to testify in” the Northern District of Illinois. Id. (quoting Dentsply

   Int’l Inc. v. Dental Brands for Less LLC, No. 15 CIV. 8775 (LGS), 2016

   WL 868335, at *2 (S.D.N.Y. Mar. 4, 2016)); see also Race Safe Sys., Inc.

   v. Indy Racing League, 251 F. Supp. 2d 1106, 1111 (N.D.N.Y. 2003)

   (cleaned up) (“Employees of the parties will, as a practical matter, be



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   available in any venue by virtue of the employment relationship.” (cita-

   tion omitted)). This factor accordingly favors transfer.

         B.     Factors about the public interest favor
                transfer.

         On balance, the Court finds that the public interest factors favor

   transfer. The interest of justice factor, which favors transfer, outweighs

   the factor involving familiarity with the governing law.

         1.     The interest of justice factor strongly favors
                transfer.

         “The Court’s consideration of whether transfer is in the interest

   of justice is based on the totality of the circumstances and relates pri-

   marily to issues of judicial economy.” Indian Harbor Ins. Co. v. Factory

   Mut. Ins. Co., 419 F. Supp. 2d 395, 407 (S.D.N.Y. 2005) (internal cita-

   tions and quotation marks omitted) (quoting Mitsui Marine & Fire Ins.

   Co. v. Nankai Travel Int’l Co., 245 F. Supp. 2d 523, 527 (S.D.N.Y. 2003))

   “When a case is in its earliest stages, it is generally not inefficient to

   transfer the case.” Royal & Sun All. Ins., PLC v. Nippon Express USA,

   Inc., 202 F. Supp. 3d 399, 411 (S.D.N.Y. 2016). By contrast, the further

   a case is in the litigation process, the less efficient a transfer would be.

   See id. (finding that transfer would be inefficient when “the parties are

   only two months away from the close of discovery”). “There is a strong

   policy favoring the litigation of related claims in the same tribunal in

   order that pretrial discovery can be conducted more efficiently, duplic-

   itous litigation can be avoided, thereby saving time and expense for both


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   parties and witnesses, and inconsistent results can be avoided.” Wald,

   856 F. Supp. 2d at 550 (quoting Wyndham Assocs. v. Bintliff, 398 F.2d

   614, 619 (2d Cir. 1968)).

          Here, the Court determines that the interests of justice and judi-

   cial economy firmly favor transfer. To begin, this case is still in the early

   stages of discovery. 8 Further, this case has “only minimal connections to

   New York,” through Kimble, and would “delay adjudication of other

   cases brought by parties who are compelled to sue” in this district. Trav-

   elers Prop. Cas. Co. of Am., 324 F. Supp. 3d at 385.

          Preventing Kimble from pursuing his case as intended would

   punish Kimble too much for the gamble he took. Doing so would stymie

   “Congress’s goal in granting employees the right to proceed as a collec-

   tive,” which “was to provide them ‘the advantage of lower individual

   costs to vindicate rights by the pooling of resources.’” Scott v. Chipotle

   Mexican Grill, Inc., 954 F.3d 502, 515–16 (2d Cir. 2020) (discussing sim-

   ilar language in the FLSA and Age Discrimination in Employment Act)

   (quoting Hoffman-La Roche, 493 U.S. at 170). And of great interest to




          8 It is for this reason that Kimble is unaware of the testimony that wit-

   nesses employed by Opteon would provide. Kimble thus need not specify how
   these witnesses would testify. In any event, because Kimble seeks transfer “on
   account of several factors, his failure to specify their testimony is not fatal.”
   Connors v. Lexington Ins. Co., 666 F. Supp. 434, 455 (E.D.N.Y. 1987) (quoting
   Factors Etc., Inc., 579 F.2d at 218). And for the reasons stated, it is safe to
   assume that the Northern District of Illinois is convenient enough for Opteon
   and its witnesses. See id.


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   federal courts, denying Kimble’s motion would impede “efficient resolu-

   tion in one proceeding of common issues of law and fact arising from the

   same alleged” FLSA violation. Id. (quoting Hoffman-La Roche, 493 U.S.

   at 170); see also Wald, 856 F. Supp. 2d at 550 (quoting Wyndham Assocs.,

   398 F.2d at 619).

         If the Court denies Kimble’s motion, another appraiser could take

   up Kimble’s mantle and claims under the FLSA. This employment

   agreement would then come into play, requiring that the employee bring

   his or her claims in “Cook County, Illinois.” (Employment Agreement at

   2–3 ¶ 13, ECF No. 21-2.) As Kimble correctly points out, this would mean

   two FLSA actions: one for Opteon’s appraisers in New York, and one for

   all of Opteon’s other appraisers. This does not serve the interests of jus-

   tice and judicial economy. See, e.g., Est. of Stanley Kauffmann v. Roch-

   ester Inst. of Tech., No. 16 CIV. 2509 (NRB), 2017 WL 449911, at *2

   (S.D.N.Y. Jan. 19, 2017) (“Transfer under such circumstances substan-

   tially advances the interests of fairness, efficiency and judicial economy

   by preventing duplicative proceedings and thereby reducing the overall

   burden on the parties, non-party witnesses and the judicial system.”

   (quoting Posven, 303 F. Supp. 2d at 406)). So, this factor heavily favors

   transfer.




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         2.     The forum’s familiarity with the governing law
                weighs slightly against transfer.

         “Familiarity with the governing law is generally given little

   weight in federal courts.” Flood, 94 F. Supp. 3d at 580 (quoting AEC One

   Stop Grp., Inc. v. CD Listening Bar, Inc., 326 F. Supp. 2d 525, 531

   (S.D.N.Y. 2004)). “This is particularly true when the governing law is a

   federal statute like the FLSA, which is equally familiar to all federal

   courts.” Id. (citation omitted). But “courts in New York are more familiar

   with New York substantive law than are the courts in a non-New York

   transferee forum.” Id. (cleaned up) (quoting Don King Prods., Inc. v.

   Douglas, 735 F. Supp. 522, 536 (S.D.N.Y. 1990)).

         Where, as here, “there are state law claims, the forum’s familiar-

   ity with governing law supports retention of the action.” Id. (quoting Am.

   Eagle Outfitters, Inc. v. Tala Bros. Corp., 457 F. Supp. 2d 474, 479

   (S.D.N.Y. 2006). Kimble brings two state law claims under the NYLL.

   (Compl. ¶¶ 81–88, ECF No. 1.) One claim mirrors Kimble’s FLSA claim

   because it involves Opteon’s alleged failure to pay overtime; the other

   involves Opteon allegedly “deducting an ‘innovation fee’ from [apprais-

   ers’] wages in violation of the NYLL.” (Id. ¶¶ 85–88.) Because at least

   the innovation fee claim is not a “mere facsimile[]” of Kimble’s federal

   claims, the Court concludes that this factor weighs slightly against

   transfer. Flood, 94 F. Supp. 3d at 580 (citation omitted). The Court finds,

   however, that this factor does not outweigh the other public interests



                                       32
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   factors that the Court has analyzed. See Posven, 303 F. Supp. 2d at 405

   (“A forum’s familiarity with the governing law, however, is one of the

   least important factors in determining a motion to transfer, especially

   where no complex questions of foreign law are involved.” (citations omit-

   ted)). The Court is thus not swayed from its conclusion that transfer is

   warranted.

                                 *      *       *

                               CONCLUSION

         The Court GRANTS Kimble’s motion to transfer venue (ECF No.

   31). The Court finds that Kimble has made this showing on the conven-

   ience factors by clear and convincing evidence. The Court thus DENIES

   without prejudice Opteon’s cross-motion to strike ECF No. 14, the

   consent to become a party plaintiff. The Court likewise DENIES as

   moot ECF No. 22, which dealt with setting a briefing schedule for a

   potential motion to compel class member contact information. The Court

   sua sponte stays this order for 14 days should Opteon wish to appeal

   pursuant to Fed. R. Civ. P. 72(a). Thereafter, the Clerk of the Court is

   directed to transfer this case to the Northern District of Illinois.

   IT IS SO ORDERED.


    Dated:       September 20, 2024
                 Rochester, NY              /s/Mark W. Pedersen
                                            MARK W. PEDERSEN
                                            United States Magistrate Judge




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